ROBINSON BROG LEINWAND GREENE
 GENOVESE & GLUCK P.C.
875 Third Avenue
New York, New York 10022
Fred B. Ringel
Proposed Attorneys for the Debtor and Debtor in
Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                         Chapter 11

FMTB BH LLC,                                                   Case No: 18-42228-cec

                                       Debtor.
----------------------------------------------------------X

    DEBTOR’S APPLICATION FOR AUTHORIZATION TO RETAIN COUNSEL

TO THE HONORABLE CARLA E. CRAIG,
UNITED STATES BANKRUPTCY JUDGE:

         The debtor and debtor in possession, FMTB BH LLC (the “Debtor”), seeks the entry of

an order, annexed to this application as Exhibit A, pursuant to sections 327(a) and 1107 of title

11 of the United States Code (the “Bankruptcy Code”) and Rule 2014(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing the Debtor’s retention and

employment of Robinson Brog Leinwand Greene Genovese & Gluck P.C. (“Robinson Brog”)

effective as of April 23, 2018, to provide legal services in connection with this case. In support

thereof, the Debtor states:

                                     JURISDICTION AND VENUE

         1.         Jurisdiction over this application is vested in the United States District Court for

this District pursuant to Sections 1334 of Title 28 of the United States Code (the “Judicial

Code”).



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       2.        This application has been referred to this Court for consideration pursuant to

Section 157 of the Judicial Code and the Standing Order of Reference Regarding Title 11

(S.D.N.Y. Feb 1, 2012) (Preska, C.J.).

       3.        This is a core proceeding arising under title 11 of the United States Code. See 28

U.S.C. §§157(b)(2). The statutory predicates for the relief sought herein are Sections 327 and

1107 of the Bankruptcy Code.

       4.        Venue of this motion in this district is proper pursuant to Section 1409 of the

Judicial Code.

                                         BACKGROUND

       5.        The Debtor is a limited liability company currently under contract to purchase the

five separate pieces real property located at (a) 1821 Topping Avenue, Bronx New York, which

is owned by 1821 Topping Avenue LLC; (b) 1974 Morris Avenue, Bronx, New York, which is

owned by 1974 Morris Avenue LLC; (c) 1988 Morris Avenue, Bronx, New York, which is

owned by 1988 Morris Avenue LLC; (d) 770 Beck Street, Bronx, New York, which is owned by

700 Beck Street LLC; and (e) 1143 Forest Avenue, Bronx, New York, which is owned by 1143

Forest Avenue LLC ((a) – (e), together, the “Properties”).

       6.        The Debtor’s case is being commenced in order for it to exercise its rights under

the Bankruptcy Code and seek performance from the sellers of the Properties to close on the sale

of the Properties pursuant to each respective contract of sale.

       7.        On April 23, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the United States Bankruptcy.

       8.        No committee, trustee or examiner has been appointed in the Debtor’s case.




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                                        RELIEF REQUESTED

       9.      The Debtor seeks authorization to retain Robinson Brog as its general counsel to

represent it in this case and assist it in carrying out its duties as debtor in possession under

Chapter 11 of the Bankruptcy Code effective as of the Petition Date.

                                 THE NEED FOR ROBINSON BROG

       10.     The Debtor needs a firm with specific expertise in Chapter 11 reorganizations to

guide it through the intricacies of the Chapter 11 process. Robinson Brog has successfully

shepherded numerous debtors through Chapter 11 reorganizations before this and other courts

and the Debtor believes that Robinson Brog is well qualified to represent it in this case.

                         SERVICES TO BE RENDERED DURING THE CASE

       11.     The professional services to be rendered by Robinson Brog in this case shall

include, but shall not be limited to:

                (a)    providing advice to the Debtor with respect to its powers and
                       duties under the Bankruptcy Code in the continued operation of its
                       business and the management of its property;

               (b)     negotiating with creditors of the Debtor, preparing a plan of
                       reorganization and taking the necessary legal steps to consummate
                       a plan, including, if necessary, negotiations with respect to
                       financing a plan;

               (c)     appearing before the various taxing authorities to work out
                       a plan to pay taxes owing in installments;

               (d)     preparing on the Debtor’s behalf necessary applications, motions,
                       answers, replies, discovery requests, forms of orders, reports and
                       other pleadings and legal documents;

               (e)     appearing before this Court to protect the interests of the
                       Debtor and its estate, and representing the Debtor in all
                       matters pending before this Court;

               (f)     performing all other legal services for the Debtor that may
                       be necessary herein; and


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               (g)     assisting the Debtor in connection with all aspects of this
                       chapter 11 case.

                                                FEES

         12.   In return for providing the above-referenced services, Robinson Brog will receive

its customary fees, subject to the submission of appropriate applications and the approval of this

Court.

                                       DISINTERESTEDNESS

         13.   The Debtor believes that Robinson Brog is a “disinterested person” as that term is

defined by the Bankruptcy Code. Robinson Brog represents no interest materially adverse to the

Debtor, its estate, its creditors, or its equity holders. Robinson Brog is not owed any money

relating to its prior representation of the Debtor. To the best of the Debtor’s knowledge,

information and belief, Robinson Brog has no connection with the Debtor (except for as stated

herein), its creditors, any other party in interest, its respective attorneys and accountants, the

United States Trustee, or any person employed in the Office of the United States Trustee, and

will not, at any time, represent any other entity in connection with this case.

                        BASIS FOR THE REQUESTED RETENTION

         14.   Section 327(a) of the Bankruptcy Code provides that a debtor, with the Court’s

approval, may employ one or more professional persons that do not hold or represent an interest

adverse to the estate and that are disinterested persons to represent or assist the debtor in carrying

out its duties under the Bankruptcy Code. 11 U.S.C. § 327(a). Robinson Brog fits such criterion.




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                                          CONCLUSION

        15.     The Debtor submits that for the reasons set forth above, the retention of Robinson

Brog is essential to its successful reorganization. Accordingly, the Debtor submits that it is in

the best interest of the Debtor, its estate and its creditors, for the Debtor to be authorized to retain

Robinson Brog.

        16.     No prior application for the relief requested herein has been made to this or any

other Court.

        WHEREFORE, the Debtor respectfully requests that the Court enter an order effective

as of April 23, 2018 approving the retention of Robinson Brog on the terms and conditions set

forth herein and in the annexed affidavits and declarations and granting such other and further

relief as is just and proper.

DATED:          New York, New York
                May 22, 2018

                                               FMTB BH LLC


                                               By:   /s/ Martin Ehrenfeld              ___
                                               Martin Ehrenfeld,
                                               Managing Member




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Martin Ehrenfeld, affirms as follows:

That he has read the foregoing Application and that the same is true.



                                      FMTB BH LLC


                                      By:   /s/ Martin Ehrenfeld ___
                                      Martin Ehrenfeld,
                                      Managing Member




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EXHIBIT A
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                        Chapter 11

FMTB BH LLC,                                                  Case No: 18-42228-cec

                                       Debtor.
----------------------------------------------------------X

                     ORDER FOR RETENTION OF ROBINSON
                BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
            AS ATTORNEYS FOR DEBTOR EFFECTIVE AS OF APRIL 23, 2018

          UPON the Application of the above-named Debtor seeking authority to employ and

appoint ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.,

(“Robinson Brog”) under a general retainer as counsel to the Debtor herein; and upon the

Declaration of Fred B. Ringel; and it appearing that ROBINSON BROG LEINWAND

GREENE GENOVESE & GLUCK P.C. represents no interest adverse to the Debtor or to its

Estate in the matters upon which it is to be engaged, and that its employment is necessary and

would be in the best interests of the estate; it is

          ORDERED, that the Application is granted to the extent provided herein; and it is

further

          ORDERED, that to the extent the Application is inconsistent with this Order, the terms

of this Order shall govern; and it is further

          ORDERED, that the Debtor be and it hereby is authorized to employ and appoint,

Robinson Brog, effective as of April 23, 2018, as attorneys to represent it as a Debtor under a

general retainer in the within proceeding pursuant to Sections 327 and 1107 of the Bankruptcy

Code and shall perform the following services:




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                    (a)   providing advice to the Debtor with respect to its powers and
                          duties under the Bankruptcy Code in the continued operation of its
                          business and the management of its properties;

                (b)       negotiating with creditors of the Debtor, preparing a plan of
                          liquidation or reorganization and taking the necessary legal steps to
                          consummate a plan, including, if necessary, negotiations with
                          respect to financing a plan;

                (c)       appearing before the various taxing authorities to work out
                          a plan to pay taxes owing in installments;

                (d)       preparing on the Debtor’s behalf necessary applications, motions,
                          answers, replies, discovery requests, forms of orders, reports and
                          other pleadings and legal documents;

                (e)       appearing before this Court to protect the interests of the
                          Debtor and its estate, and representing the Debtor in all
                          matters pending before this Court;

                (f)       performing all other legal services for the Debtor that may
                          be necessary herein; and

                (g)       assisting the Debtor in connection with all aspects of this
                          Chapter 11 case.

and it is further

        ORDERED, that prior to any increases in Robinson Brog’s rates for any individual

employed or retained by Robinson Brog and providing services in this case, Robinson Brog shall

file a supplemental affidavit with the Court and provide ten business days’ notice to the Debtor,

the United States Trustee and any official committee. The supplemental affidavit shall explain

the basis for the requested rate increases in accordance with Section 330(a)(3)(F) of the

Bankruptcy Code and state whether the Debtor has consented to the rate increase. The United

States Trustee retains all rights to object to any rate increase on all grounds including, but not

limited to, the reasonableness standard provided for in Section 330 of the Bankruptcy Code, and




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the Court retains the right to review any rate increase pursuant to Section 330 of the Bankruptcy

Code; and it is further

       ORDERED, that, notwithstanding anything to the contrary in the Application, Robinson

Brog shall not withdraw as Debtor’s counsel prior to the effective date of any chapter 11 plan

confirmed in this Chapter 11 case without prior approval of the Court in accordance with Local

Bankruptcy Rule 2090-1(e); and it is further

       ORDERED, that Robinson Brog shall be compensated for fees and reimbursed for

reasonable and necessary expenses and will file interim and final fee applications for allowance

of its compensation and expenses in accordance with sections 330 and 331 of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, the Amended Order Establishing Procedures for

Monthly Compensation and Reimbursement of Expenses of Professionals, dated December 21,

2010, the Amended Guidelines for Fees and Disbursements for Professionals in the Southern

District of New York, dated January 29, 2013, and the United States Trustee Fee Guidelines

(collectively, the “Fee Guidelines”);

DATED:          Brooklyn, New York
                             , 2018

No Objection:

Office of the United States Trustee

By:




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